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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                          MOTION FOR RELIEF
 In Re:                                                   FROM AUTOMATIC STAY

           JODI A KNOX                                    Case No. 20-11596-CGM
           AKA JODI KNOX MCGUINNIS,                       Chapter 13

                            Debtor.                       HON. CECELIA G. MORRIS



          Santander Consumer USA Inc., (hereinafter “Santander””), a secured creditor of the above-

named Debtor, moves the above-captioned Court for an order modifying the automatic stay pursuant to

11 U.S.C. §362 (d)(1) to permit it to recover and sell one (1) 2012 Jeep Grand Cherokee, more

particularly described in the evidence of the recorded lien, which is annexed hereto and made a part

hereof as Exhibit “B”:

          1.     The Court has jurisdiction to hear this motion under 28 U.S.C. §157.

          2.     Santander is a secured creditor herein and holds a duly perfected purchase money

security interest in one (1) 2012 Jeep Grand Cherokee.

          3.     On February 12, 2016, Debtor, Jodi A Knox, entered into a retail installment contract

with Manhattan Jeep Chrysler Dodge, Inc. to purchase one (1) 2012 Jeep Grand Cherokee (hereinafter

“collateral”). Pursuant to the terms of the retail installment contract, the Debtor promised to pay the

total sales price plus 18.50% interest. The retail installment contract was assigned to Santander. A copy

of the contract is annexed hereto and made a part hereof as Exhibit “A”.

          4.     Pursuant to the terms of the retail installment contract, the Debtor gave a security interest

in the collateral to Santander. The security interest was perfected by the filing a Notice of Lien with the

New York State Department of Motor Vehicles. Evidence of the recorded lien is annexed hereto and

made a part hereof as Exhibit “B”.
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        5.      Debtor filed a petition for relief under Chapter 13 of the United States Code in this Court

on July 8, 2020. Pursuant to 11 U.S.C. §362(a)(1), Santander is stayed from proceeding with any action

to recover and sell the collateral.

        6.    According to the records maintained by Santander, as of September 2, 2021, the Debtor was

past due for the January 5, 2021 payment and all subsequent payments thereafter totaling $5,120.00.

        7.    The outstanding balance under the contract is $15,552.29 as of September 2, 2021.

According to the NADA Guide, the collateral has a trade-in value of $13,650.00. The relevant page

from the NADA Guide is annexed hereto and made a part hereof as Exhibit “C”.

        8.      Santander requests an award of attorney fees and costs incurred as a result of having to

file this motion in the amount of $538.00.

        9.      Pursuant to 11 U.S.C. 362(d) a Court may terminate, amend, modify the automatic stay

for cause including the lack of adequate protection of an interest in property of the Debtor.

        10.     The Debtor has failed to make payments as required by the retail installment contract,

which constitutes a default under the contract terms.

        11.     Santander’s interest is not adequately protected as a result of the Debtor’s failure to make

the necessary payments.

        12.     Therefore, sufficient cause exists to grant Santander relief from the automatic stay.

        13.     By reason of the foregoing, Santander or its assigns should be permitted to recover and

sell the aforesaid collateral.

        14.     It is requested that in the event that an Order Granting Relief from the Automatic Stay is

granted, that such Order survive any conversion.

        15.     In the event the collateral is sold at auction, the Chapter 13 Trustee will receive notice of

any surplus monies.




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       16.     No previous application has been made for the relief requested herein.



       WHEREFORE, Santander Consumer USA Inc., requests that this Court enter an order modifying

the automatic stay herein, and awarding Santander’s attorneys’ fees and costs in the amount $538.00,

together with such other and further relief as to the Court may seem just and proper.



 DATED:         September 15, 2021                  SCHILLER, KNAPP,
                                                    LEFKOWITZ & HERTZEL, LLP

                                                    By:    /s/ Martin A Mooney
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